920 F.2d 1422
    UNITED STATES of America, Appellee,v.William Charles CARY, Jr., Appellant.
    No. 88-5458MN.
    United States Court of Appeals,Eighth Circuit.
    Dec. 13, 1990.
    
      1
      Appeal from the United States District Court for the District of Minnesota.
    
    
      2
      Upon remand of this cause from the United States Supreme Court, --- U.S. ----, 111 S.Ct. 288, 112 L.Ed.2d 243, the judgment of this Court of February 26, 1990 is vacated and the cause is hereby remanded to the United States District Court for the District of Minnesota with directions to vacate its judgment and enter judgment in consideration of United States v. Eichman, --- U.S. ----, 110 S.Ct. 2404, 110 L.Ed.2d 287 (1990).
    
    